Case 4:00-cr-00260-Y   Document 2407   Filed 05/23/07   Page 1 of 15   PageID 7220


                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES OF AMERICA              §
                                       §
 VS.                                   §      CRIMINAL NO.4:00-CR-260-Y
                                       §       (CIVIL NO.4:04-CV-346-Y)
 JOHN TURNER       (8)                 §

  ORDER GRANTING RELIEF ON REMAINING CLAIM UNDER 28 U.S.C. § 2255,
      VACATING SENTENCE and, SETTING HEARING ON RE-SENTENCING

       On May 2, 2007, the Court held a hearing on defendant John

 Turner’s remaining claim under 28 U.S.C. § 2255 that his counsel

 provided him ineffective assistance by failing to adequately advise

 him of all facts and law relevant to his decision to plead not

 guilty (“the remaining ineffective-assistance claim”). Turner was

 represented during the pre-trial and trial proceedings in this

 matter by his then attorney, Darrell F. Brown. (May 2, 2007, § 2255

 Hearing Transcript (Tr.) at 5.)

       At the hearing on the remaining ineffective-assistance claim,

 Turner appeared with the assistance of appointed counsel.                    In

 addition to Turner’s testimony, the Court heard the testimony of

 Assistant United States Attorney Fred Schattman, the attorney who

 prosecuted Turner. Brown did not appear, and has not submitted any

 declaration or affidavit in this proceeding.             Government counsel

 told the Court that the government was unable to locate Brown for

 the § 2255 hearing. (Tr. 62.) After conducting the hearing;

 reviewing the exhibits admitted during the hearing, the govern-

 ment’s post-hearing brief, and Turner’s response in opposition; and

 after considering the applicable law and the records of this case,

 the Court concludes that Turner is entitled to relief under 28

 U.S.C. § 2255 on the remaining ineffective-assistance claim.
Case 4:00-cr-00260-Y    Document 2407    Filed 05/23/07    Page 2 of 15   PageID 7221


       Turner’s remaining ineffective-assistance claim is based upon

 three allegations: that counsel failed to advise Turner that he

 could plead guilty with or without a plea agreement, that he could

 have proceeded to a bench trial on stipulated facts,1 and that if

 he entered a timely guilty plea, he could obtain up to a three-

 level reduction in his total offense level under United States

 Sentencing Guideline (“USSG”) § 3E1.1 for “acceptance of responsi-

 bility.”    To    determine    whether       counsel     was   constitutionally

 ineffective under the Sixth Amendment, this Court must apply the

 familiar,      two-pronged    deficiency-and-prejudice            standard    from

 Strickland v. Washington.2 The Strickland test applies to the

 advice given by counsel in the context of guilty-plea discussions

 and potential sentence exposure.3

       In the context of a plea decision, the deficiency test focuses

 on   whether     the   attorney’s      conduct   was     within   the    range   of




       1
        Although there was testimony from Turner on his misunderstanding of any
 plea to stipulated facts, this ineffective-assistance claim is resolved on the
 other two aspects.
       2
        Strickland, 466 U.S.668, 687 (1984)

       (First, the defendant must show that counsel’s performance was
       deficient. This requires showing that counsel made errors so serious
       that counsel was not functioning as the ‘counsel’ guaranteed the
       defendant by the Sixth Amendment. Second, the defendant must show
       that the deficient performance prejudiced the defense. This requires
       showing that counsel’s errors were so serious as to deprive the
       defendant of a fair trial, a trial whose result is reliable.)

       3
        Hill v. Lockhart, 474 U.S. 52, 58 (1985); see United States v. Grammas,
 376 F.3d 433, 436 (5th Cir. 2004); United States v. Ridgeway, 321 F.3d 512, 514
 (5th Cir. 2003); see also United States v. Walder, Nos.3-99-CR-185-T, 3-02-CV-
 237-G, 2002 WL 1906205, at *1 (N.D.Tex. Aug. 14, 2002)(noting that claim that
 counsel’s advice to plead not guilty was constitutionally inadequate analyzed
 under Strickland).

                                          2
Case 4:00-cr-00260-Y       Document 2407     Filed 05/23/07    Page 3 of 15      PageID 7222



 competence demanded of attorneys in criminal cases.4 The prejudice

 prong in the context of the plea process requires scrutiny on

 “whether      counsel’s        constitutionally        ineffective         performance

 affected     the    outcome     of   the    plea   process.”5        In   the   specific

 instance where a defendant has gone to trial rather than enter a

 plea, to establish prejudice, the defendant must show that he would

 have accepted a plea but for counsel’s advice, and that had he done

 so he would have received a lesser sentence.6

        Deficiency

        Resolution of whether attorney Brown was deficient in his plea

 discussions        with    Turner    must   take    account     of    whether     Turner

 understood the law and its application to the facts sufficiently to

 make an informed and conscious choice regarding whether to plead

 guilty.7      Educating Turner as to the relevant law would have


        4
        Hill, 474 U.S. at 52, citing Tollett v. Henderson, 411 U.S. 258 (1973)
 and McMann v. Richardson, 397 U.S. 759, 771 (1970); see Grammas, 376 F.3d at 436
 (§ 2255 movant must show that counsel’s performance fell below an objective
 standard of reasonableness); see also James v. Cain, 56 F.3d 662, 667 (5th
 Cir.1995) (noting that to satisfy the deficiency prong in the plea-bargaining
 arena, [petitioner] must establish that his trial counsel's performance fell
 below an objective standard of reasonable competence)(citations omitted).

        5
         Hill, 474 U.S. at 370.
        6
        See Grammas, 376 F.3d at 438; see also Wanatee v. Ault, 259 F.3d 700, 703
 (8 Cir. 2001)citing, Engelon v. United States, 68 F.3d 238, 241 (8th Cir. 1995);
   th

 United States v. Booth, 432 F.3d 542, 546 (3rd Cir. 2005)(defendant must show
 that, but for counsel’s ineffectiveness, he would have received a lower
 sentence).
        7
        See generally Grammas, 376 F.3d at 436; see also Canales v. Quarterman,
 No.Civ. A. C-06-266, 2007 WL 412172, at *5-6 (S.D.Tex. Feb. 1, 2007).

        “The Fifth Circuit has established that with respect to a guilty
        plea, counsel "must actually and substantially assist his client in
        deciding whether to plead guilty ... [and] provide the accused an
        'understanding of the law in relation to the facts.' " Herring v.
        Estelle, 491 F.2d 125, 128 (5th Cir.1974) (citations omitted); see
        also Pollinzi v. Estelle, 628 F.2d 417, 419 (5th Cir.1980) (per
        curiam) ("Where a defendant pleads guilty, counsel's responsibility
        is to determine whether the plea is entered voluntarily and
                                             3
Case 4:00-cr-00260-Y    Document 2407       Filed 05/23/07    Page 4 of 15    PageID 7223


 included, at a minimum, an analysis of the statutes Turner was

 charged     with    violating,       and    an    analysis    of   the      sentencing

 guidelines and how those guidelines would have applied to Turner if

 he had proceeded to trial versus if he had pleaded guilty.                        Over

 the course of his representation, although Brown sent several

 letters     to   Turner,      none   of    that   correspondence      included     any

 explanation of how the sentencing guidelines were structured or how

 they might apply to Turner’s specific case. (Tr. 22.) Although

 Brown met with Turner on several occasions, most of the meetings

 were brief and perfunctory.8 Turner testified that he first learned

 of the sentencing guidelines only from fellow inmates (Tr. 12-13),

 and that Brown did not mention the guidelines to him until the

 meeting on the Friday before his scheduled trial. (Tr. 13.) Even

 then,     counsel     Brown    did   not    explain    a     sentencing     guideline

 calculation, but told Turner only that if he were found guilty, he

 would be facing at least 20 years. (Tr. 14.) With regard to

 discussion of a potential plea bargain, Turner testified that Brown



         knowingly, ... to assist his client actually and substantially in
         deciding whether to plead guilty, ... to provide the accused with an
         understanding of the law in relation to the facts, ... and to give
         advice that permits the accused to make an informed and conscious
         choice.") (citations omitted).

       8
         Turner testified that he saw Brown only a few times prior to the day of
 trial, just briefly after the detention hearing (Tr. 5); for “two or three”
 minutes after the arraignment where there was “no substantive discussion” of the
 charges (Tr. 6); a 30-45 minute meting a few weeks later which did include a
 discussion of the “whole nature of the case,” but did not include discussion of
 any specifics of range of punishment (Tr. 6-7); a post-suppression hearing
 meeting for a “few short minutes,” which did not include any substantive review
 of his case (Tr. 8); a five minute meeting post-arraignment on the superseding
 indictment (Tr. 9); and two meetings on the Friday before trial scheduled on the
 next Monday (Tr. 10.)
                                             4
Case 4:00-cr-00260-Y   Document 2407   Filed 05/23/07   Page 5 of 15   PageID 7224


 told him that there was not going to be a plea bargain and he could

 not take a plea because [Turner] was not offered a plea agreement.

 (Tr. 14, 15.) Brown never discussed with Turner the option of

 pleading guilty without a plea agreement (Tr. 14, 15), and never

 mentioned or explained the phrase “going open.” (Tr. 15.) Brown

 advised Turner to waive a jury trial, and to proceed to trial

 before the Court on “stipulated facts;” which Turner understood to

 mean that he was not going to have a full trial, but only a

 presentation by the government of certain evidence. (Tr. 16.)

 Turner    testified    that   Brown   did    not   discuss    acceptance     of

 responsibility until the Friday before trial. (Tr. 18.) Turner

 testified that Brown told him that “even if I did get offered a

 plea, that I would not get the acceptance-of-responsibility points

 because it was so late in the process of my case.” (Tr. 19.) Turner

 understood the discussion to mean that “if [I] pled guilty, I would

 not get any acceptance points off for anything.” (Tr. 19.)

       Review of this testimony leads to the conclusion that counsel

 Brown was deficient in not adequately advising Turner of the law

 applicable to his options to go to trial or to plead guilty without

 a plea agreement. Counsel did not adequately explain the guidelines

 to Turner, and did not show Turner how the guideline imprisonment

 range would be different if he went to trial as opposed to entering

 a guilty plea. Brown did not even discuss with Turner the option of

 entering a plea without a plea agreement. Brown did not timely

 discuss with Turner the option of entering a plea to be eligible

 for a lesser sentence because of his acceptance of responsibility.

 Because Brown did not adequately inform Turner of the sentencing
                                 5
Case 4:00-cr-00260-Y      Document 2407    Filed 05/23/07   Page 6 of 15   PageID 7225


 consequences of deciding to plead guilty versus going to trial,

 Brown’s performance was deficient.9 Turner has satisfied the first

 prong of the Strickland test.10

       Prejudice

       The government argues, with citation only to Strickland, that

 as a part of the prejudice inquiry, Turner must show that but for

 the deficient advice of counsel he probably would have pleaded

 guilty. Under controlling circuit authority, the prejudice inquiry

 includes two components: whether the defendant would have pleaded

 guilty,       and   if   so,   whether    he   would   have   received    a   lesser

 sentence.11 The first question, then, is whether Turner would have

 pleaded guilty. This is a question of fact.12

       Turner acknowledged at the § 2255 hearing that prior to trial

 he insisted on his innocence. (Tr. 23.) The government argues that


       9
         The Court notes that Brown has been disbarred from engaging in the
 practice of law by the Supreme Court of Arkansas. (Turner Exhibits 1-3); In re
 Darrell F. Brown, No.05-592, 2007 WL 700976 (Ark. March 8, 2007).
       10
        See Hill, 474 U.S. at 62 (White, J. concurring)(“The failure of an
 attorney to inform his client of the relevant law clearly satisfies the first
 prong of the Strickland analysis . . . as such an omission cannot be said to fall
 within the ‘wide range of professionally competent assistance’ demanded by the
 Sixth Amendment”)(citation omitted).
       11
            See Grammas, 376 F.3d at 438

       (“Whether there was a reasonable probability that, but for
       [counsel’s] actions, [defendant] would have received a lesser
       sentence than he did turns on first, whether [defendant] would have
       pleaded guilty if he [had known] of the true criminal penalty he
       faced, and second, whether a guilty plea would have indeed reduced
       [defendant’s] sentence”).


 see generally Wannatee v. Ault, 259 F.3d at 703-04, citing Engelen v. United
 States, 68 F.3d 238, 241 (8th Cir.1995)(“To establish prejudice under [instance
 where counsel rejects plea due to improper advice], the petitioner must show that
 he would have accepted the plea but for counsel's advice, and that had he done
 so he would have received a lesser sentence”); see United States v. Hernandez,
 450 F.Supp. 2d 950, 975 (N.D.Iowa 2006).
       12
            Grammas, 376 F.3d at 438; see also Wanatee, 259 F.3d at 704.
                                            6
Case 4:00-cr-00260-Y   Document 2407   Filed 05/23/07   Page 7 of 15   PageID 7226


 Turner’s § 2255 papers support his unwillingness to plead guilty

 because Turner asserted, as a part of a separate ineffective-

 assistance claim based on counsel’s interference with his right to

 testify, that he “would have taken the witness stand and directly

 rebutted the allegations of the indictment and the prosecution’s

 evidence.” (§ 2255 Mot. at 4,¶ D, Amend. Mot. at 5, ¶ D.) The

 government also points to defense counsel Brown’s letters to

 prosecutor Schattman stating that Turner continued to “maintain his

 innocence.” When asked at the § 2255 hearing whether such letters

 supported     Turner’s profession of innocence, however, Schattman

 noted that “during the course of my discussions with Mr. Brown on

 several occasions, he had indicated to me that Mr. Turner had no

 desire to be, as he said, a snitch.” (Tr. 48.) As a part of the

 same answer the prosecutor noted:

       The letters reflect some of the discussions, or areas of
       discussions, that I had with Mr. Brown. This was a very
       serious case in my view. It was a case in which–-there
       were no plea offers that did not involve cooperation. If
       anyone wanted to plead to something less than the entire
       indictment, then they were going to have to cooperate
       with the government. If they didn’t, they could go to
       trial. They could plead guilty to the entire indictment,
       and the government would do its best to make its best
       case for sentencing.

 (Tr. 47-48.) But counsel Brown never relayed to Turner the fact

 that he could plead to the entire indictment without having to

 cooperate with the government or having to “snitch” on any of his

 co-defendants. (Tr. 14, 15, 27-28.)

       At the hearing on the § 2255 motion, Turner acknowledged that

 he claimed innocence to his fellow inmates.(Tr. 24.) The government

 adduced a letter written by Turner while he was awaiting trial, in

                                       7
Case 4:00-cr-00260-Y   Document 2407   Filed 05/23/07   Page 8 of 15   PageID 7227


 which he wrote: “I can’t see myself taking some time for something

 I had nothing to do with.” (Tr. 25, 31; Gov. Ex. 8.) A second

 letter included Turner’s statement that, although he was willing to

 plead to gun charges:

       [T]he feds didn’t want that plea. So basically I don’t
       have anything to plea to so I have to go to trial. I
       think it is all a waiting game to see when I will crack
       and tell on somebody. I know about all that and I’ve
       never been that type to snitch on somebody regardless of
       what they may say about me.


 (Gov. Ex. 9.) Turner’s response to questioning confirmed that he

 believed that, in order to enter a guilty plea, he would have to

 cooperate with the government: “Everybody else that was on my case-

 -they were cooperating with the government, and that’s how they

 were getting pleas. I never debriefed with the government, so,

 therefore, I never got offered a plea. And I didn’t know that you

 could just take an open plea.” (Tr. 27.)

       The government makes a persuasive argument that Turner would

 not have pleaded guilty through the entry of a plea agreement. Both

 Turner’s testimony and the inferential evidence supports such a

 finding. But that does not resolve the issue of whether Turner

 would have pleaded guilty to the indictment in a “straight” or

 “open” plea without a plea agreement. Turner gave direct testimony

 under oath in the § 2255 hearing that he was guilty of both the

 marijuana conspiracy and the cocaine conspiracy, and would have

 pleaded guilty “to the entire indictment” if he “had known he could

 have taken an open plea.” (Tr. 20, 33.)                A review of Turner’s

 testimony reveals both that he did not understand that he could


                                       8
Case 4:00-cr-00260-Y   Document 2407    Filed 05/23/07    Page 9 of 15        PageID 7228


 plead   guilty    without   a   plea   agreement,       and   that      if    he   had

 understood he would have done so:

 Q. When was the first time Mr. Brown discussed with you the
 possibility of pleading guilty or plea bargaining your case ?
 A. He told me there wasn’t going to be a plea bargain, that I
 wasn’t offered a plea agreement.
 Q. Did he talk to you at all about pleading guilty without a plea
 agreement?
 A. No. (Tr.14.)


 Q. Did he expand on the statement [that you would have to proceed
 to trial] at all? Did he offer you any reasons for why?
 A. No, because he made the statement that I wasn’t going to be
 offered a plea agreement. So I couldn’t take a plea.
 Q. So he never discussed with you pleading guilty without a plea
 agreement?
 A. No. (Tr. 15.)


 Q. When was the first time he talked to you about acceptance of
 responsibility?
 A. The Friday before trial.
 Q. At that time, that Friday before trial, did you understand or
 did he explain to you what acceptance of responsibility was?
 A. He told me that that’s when you take responsibility if you’re
 guilty. And he told me that, even if I did get offered a plea, that
 I would not get the acceptance of responsibility points because it
 was too late in the process of my case.
 Q. So what did you understand that to mean at that time?
 A. That meant that if I pled guilty, I would not get any acceptance
 points off for anything. (Tr. 18-19.)


 Q. So he tells you the government wants you to debrief with them?
 A. Correct.
 Q. But he didn’t give a reason why you should?
 A. No. He told me–-he just told me they want to debrief with me,
 and he said that it would be in my best interest not to.
 Q. Did he explain to you why it would be in your best interest not
 to?
 A. He said if I went to trial, took a plea, whatever, if I was
 offered a plea, that they could use whatever I said against me. It
 says that in the Miranda rights.
 Q. I’m sorry, It says what?
 A. It says that in the Miranda rights. When I first got arrested,
 it said, anything I say can and will be used against me.
 Q. And he told you that anything you said to the government in a
 debriefing would be used against you?
 A. Yes. (Tr. 28-29.)


                                        9
Case 4:00-cr-00260-Y    Document 2407   Filed 05/23/07   Page 10 of 15   PageID 7229


  Q. Do you have any understanding about–-well, you were questioned
  by counsel for the government about whether you would have snitched
  if you had gotten the plea agreement, but do you have any
  understanding about whether you would have had to have cooperated,
  debriefed, if you had simply entered a guilty plea to all the
  counts against you? I’m just asking if you understand that, or what
  would have happened if you know?
  A. I understand it now.
  Q. What’s your understanding now as to what--
  A. I understand now that you could just make an open plea–I mean,
  not open but plead to the charge that you’re charged with, and you
  wouldn’t have to have necessarily debrief with anybody to make a
  plea.
  Q. But you didn’t understand that in 2001?
  A. No.
  Q. In fact, in 2001, you were under the impression that you had to
  have a plea agreement to plead; is that correct?
  A. That’s correct. (Tr. 40-41.)

  Q. Is it fair to say that you’re guilty of the the marijuana
  conspiracy that you’re charged with in this indictment?
  A. Yes.
  Q. Would it be fair to say that you were guilty of the cocaine
  conspiracy charged against you in this indictment?
  A. Yes.
  Q. Would you say–-well, knowing what you know today and taking into
  account all the evidence that you saw that here was against you in
  these cases, and particularly understanding about these acceptance
  of responsibility points, what if anything would you have done
  differently five years ago?
  A. I would have pled guilty. (Tr. 20.)

        Brown never explained to Turner the chance to enter an open

  plea. Turner did not want to have to provide information or reveal

  information about any other defendant or potential defendant.               But

  Brown did not explain to Turner that if he were willing to plead to

  the terms of the entire indictment, he would not have to reveal

  such information. Turner did not understand that he could have pled

  guilty without having to “snitch” on anyone.

        The Court recognizes that Turner is a convicted felon, and

  that because record evidence contradicts some of his statements,

  his   veracity   is    questionable.    His   testimony     at   the   hearing,

  however, is direct evidence on the specific point at issue in this
                                         10
Case 4:00-cr-00260-Y        Document 2407     Filed 05/23/07     Page 11 of 15     PageID 7230


  proceeding:      he      would    have    pled   guilty      to   the    terms    of   the

  superseding indictment, without a plea agreement, if he had been

  advised properly. Thus, the Court finds that had Turner been

  properly advised by counsel, he would have pled guilty without a

  plea agreement.

        But would Turner have received a lesser sentence if he pled

  guilty?      In a trial to this Court, Turner was found guilty of both

  conspiracy to distribute more than 100 kilograms of marijuana in

  violation of 21 U.S.C. § 846, as set out in 21 U.S.C. § 841(a)(1)

  and   (b)(1)(B)       (count       1),    and    conspiracy       to    distribute     and

  distribution of more than five kilograms of cocaine in violation of

  21 U.S.C. § 846, as set out in 21 U.S.C. § 841(a)(1) and (b)(1)(A)

  (count    2).       As    Turner    was    convicted     of    distribution       of   two

  different drugs, under USSG §2D1.1, comment (n.10), the substances

  were converted to their marijuana equivalent, which in Turner’s

  case was approximately 2600 kilograms of marijuana. This quantity

  of marijuana hiked Turner’s base offense level to 32.(October 3,

  2001, Presentence Report, ¶¶ 153-156, 162-164.) Had Turner pled

  guilty to both counts of the indictment, the result would have been

  the same.       The Court also applied an adjustment for Turner’s role

  in the offense under USSG 3B1.1(c) for a total offense level of 34.

  (PSR,    ¶   167,     ¶    170;    December      10,   2001,      Sentencing      Hearing

  Transcript at 7.) With Turner’s criminal history category of IV,

  the applicable imprisonment range was 210-262 months, and Turner

  was sentenced to 262 months on counts 1 and 2, to run concurrently.

        Turner, having gone to trial, was not given any sentence

  reduction for acceptance of responsibility. Had Turner timely
                               11
Case 4:00-cr-00260-Y          Document 2407    Filed 05/23/07   Page 12 of 15       PageID 7231


  entered a guilty plea under USSG § 3E1.1(a), he would have been

  eligible for a 2-level reduction for acceptance of responsibility

  for the offense, and he could have sought an additional 1-level

  reduction had he “timely notified authorities of his intention to

  enter a plea of guilty, thereby permitting the government to avoid

  preparing for trial and permitting the court to allocate its

  resources efficiently.”13

         This judge rarely denies the 2-level reduction afforded by

  guideline § 3E1.1(a) to a defendant who has pled guilty.                          Thus, as

  there is a reasonable probability that if Turner had pled guilty

  the Court would have awarded at least the 2-level reduction under

  USSG        §3E1.1(a),14      Turner’s      guideline    range      would     have    been

  calculated upon a base offense level of 32, or possibly lower.

  With a base offense level of 32, and the same criminal history

  category of IV, the guideline range would have been 168-210 months.

  Even    assuming        a    base   offense    level    of    32,   and     the    Court’s

  assessment of a sentence at the top of this range, Turner’s

  sentence would have been 210 months rather than 262 months.

         The Court therefore finds that Turner would have received a

  lesser sentence if he had pled guilty. As any amount of additional

  time of imprisonment is constitutionally significant for Sixth

  Amendment purposes,15 the Court concludes that Turner was prejudiced


         13
              U.S. SENTENCING GUIDELINE § 3E1.1(b)(2).
        14
           Whether Turner would have been eligible for the additional 1 level under
  §3E1.1(b)(2) is an open issue.
         15
          The applicable prejudice test for ineffectiveness relating to the amount
  of a sentence in the Fifth Circuit used to be whether, but for counsel’s actions,
  there was a reasonable probability that defendant would have received a
  “significantly less harsh” sentence. See Ridgeway, 321 F.3d at 515. As a result
                                                12
Case 4:00-cr-00260-Y      Document 2407   Filed 05/23/07   Page 13 of 15   PageID 7232


  by Brown’s deficient representation, such that he is entitled to

  relief on the remaining ineffective-assistance claim.

        Remedy

        Section 2255 provides that if a court concludes that “the

  sentence       imposed was not authorized by law or otherwise open to

  collateral attack,” it shall “vacate and set the judgment aside”

  and shall, among other options, “resentence” the defendant.16 This

  Court concludes that § 2255 provides this Court authority to vacate

  the sentence imposed in the original judgment, and to correct the

  sentence through a resentencing proceeding.17 The Court has found

  that Turner would have accepted a guilty plea but for counsel’s

  advice.       Thus, Turner must be resentenced as if he had entered a

  guilty plea to counts 1 and 2 of the superseding indictment.

        In conducting the resentencing of Turner, the Court must also

  determine which version of the Sentencing Guidelines should apply,

  and whether the Court must treat those guidelines as advisory under

  United States v. Booker.18 For disposition of this issue, the Court


  of the Supreme Court’s holding in Glover v. United States, 531 U.S. U.S.198, 203
  that “any amount of actual jail time has Sixth Amendment significance,” the Fifth
  Circuit has now held that “Glover abrogates the significantly less harsh test,
  and that any additional time in prison has constitutional significance.”
  Grammas, 376 F.3d at 438. Glover was decided January 9, 2001, prior to Turner’s
  conviction and sentencing.
        16
           28 U.S.C. § 2255 ¶ 2(West 2006). The Court of Appeals for the Fifth
  Circuit has held that “granting § 2255 relief entails vacating and setting aside
  the judgment and choosing one of the proposed remedies.” United States v. West,
  240 F.3d 456, 460 (5th Cir. 2001).
        17
           See Andrews v. United States, 373 U.S. 334, 339-40 (1963)(noting that
  relief under § 2255 does not require discharge of the prisoner, but expressly
  authorizes the vacation of a sentence in order for a defendant to be returned to
  the district court for resentencing proceedings); see United States v. Hernandez,
  450 F.Supp. 2d 950, 979-81 (N.D.Iowa 2006)(after finding ineffective assistance
  of counsel on a § 2255 claim arising from the failure to plead guilty,
  determining that resentencing is an available remedy).
        18
             543 U.S. 220 (2005).
                                          13
Case 4:00-cr-00260-Y      Document 2407     Filed 05/23/07   Page 14 of 15   PageID 7233


  finds persuasive the consideration and analysis of the identical

  question by the district court in United States v. Hernandez:

        [O]n resentencing as a remedy under § 2255 for a
        constitutional violation that was not premised solely on
        a “Booker violation,” it would be inappropriate for the
        court to apply the Guidelines in a manner that the
        Supreme Court has determined to be unconstitutional. In
        this case, the only alleged constitutional violation that
        the court has found to warrant relief is the “ineffective
        assistance of counsel” claim based on counsel’s failure
        to advise [defendant] adequately about the benefits and
        consequences of going to trial versus pleading guilty,
        either with or without a plea agreement. This claim has
        nothing whatsoever to do with judicial factfinding during
        sentencing, and thus, does not implicate Booker in any
        way. Thus, the court must apply the Guidelines as
        advisory, although the Guidelines that are applicable are
        otherwise the ones in place at the time that [defendant]
        was originally sentenced.19

  Likewise,        resentencing     in     this   proceeding      results    from     a

  determination that Turner’s rights to effective assistance of

  counsel under the Sixth Amendment were violated.                  Once that Sixth

  Amendment violation was determined, remedying it at a resentencing

  proceeding must comport with what is now constitutionally required

  under Booker.20

        Thus, at the resentencing hearing, the Court will apply the

  November 1, 2000, edition of the Sentencing Guidelines effective at

  the time of the original sentencing, but treat those guidelines as

  advisory       under    Booker.    The    issues     to    be   resolved   at     the



        19
             Hernandez, 450 F.Supp 2d at 982.
        20
         The Court acknowledges that it already rejected Turner’s separate Sixth
  Amendment claim based upon alleged inappropriate judicial fact-finding under
  Booker as foreclosed by the Fifth Circuit’s decision in United States v. Gentry,
  432 F.3d 600, 601 (5th Cir. 2005) that “Booker does not apply retroactively on
  collateral review to an initial 28 U.S.C. § 2255 motion.” Even though the Booker
  holding does not provide a ground for a collateral challenge, once this Court
  otherwise determined a constitutional violation occurred requiring resentencing,
  that resentencing must be conducted under the Booker Court’s determination that,
  to be constitutional, the guidelines must be treated as advisory.
                                            14
Case 4:00-cr-00260-Y    Document 2407    Filed 05/23/07   Page 15 of 15   PageID 7234


  resentencing hearing are: (1) whether Turner is entitled to a 2-

  level     reduction    in    the   offense      level    for   acceptance      of

  responsibility under USSG § 3E1.1(a); and (2) whether Turner is

  entitled to an additional 1-level reduction in offense level for

  acceptance of responsibility under USSG § 3E1.1(b)(2).

        Therefore, John Turner’s remaining claim for relief under 28

  U.S.C. § 2255 is GRANTED, to the extent that the sentence of

  imprisonment imposed in the December 12, 2001, Judgment in Criminal

  Case is VACATED, pending this Court’s resentencing of Turner.

  Turner shall remain in the custody of the United States on the same

  terms as prior to trial until further order of the Court.

          A hearing on the resentencing of defendant John Turner is set

  for Monday June 11, 2007, at 10:30 a.m..21

          The government shall prepare the paperwork and writs necessary

  to have defendant John Turner in attendance at the June 11, 2007,

  hearing.22

   SIGNED May 23, 2007.




        21
           The Court notes that counsel Leigh W. Davis was initially appointed until
  this Court’s resolution of Turner’s motion under § 2255. The Court now expressly
  orders that under 18 U.S.C. § 3006A(a)-(d), Leigh W. Davis remains appointed to
  continue to represent John Turner at the re-sentencing, and in any other matters
  that arise in this proceeding, including any direct appeal to the Court of
  Appeals for the Fifth Circuit from any amended judgment in this criminal case.
  A separate CJA 20 will issue.
        22
           As of May 21, 2007, it appears John Turner, register number 26394-177 is
  presently housed at FCI--Fort Worth. See www.bop.gov (Last visited May 21, 2007).
                                         15
